                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA



UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:09-CR-188
v.                                                    )
                                                      )       COLLIER / LEE
CHRISTINA J. HAYES                                    )
                                                      )


                              REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 24, 2010.

At the hearing, defendant moved to withdraw her not guilty plea to Count One and entered a plea

of guilty to the lesser included offense of the charge in Count One, that is of conspiracy to

manufacture, distribute, and possess with the intent to distribute five (5) grams or more of actual

methamphetamine in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; the defendant understands the nature of the charge and penalties provided by

law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw her not guilty plea to Count

One be granted, her plea of guilty to the lesser included offense of the charge in Count One, that is

of conspiracy to manufacture, distribute, and possess with the intent to distribute five (5) grams or




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more of actual methamphetamine in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) be accepted,

the Court adjudicate defendant guilty of the lesser included offense of the charge in Count One,that

is of conspiracy to manufacture, distribute, and possess with the intent to distribute five (5) grams

or more of actual methamphetamine in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B), and a

decision on whether to accept the plea agreement be deferred until sentencing. Defendant's bond

was revoked and I further RECOMMEND defendant remain in custody until sentencing in this

matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.



                                               s/Susan K. Lee
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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